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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X                 6/24/2020
DINO ANTOLINI,                                                 :
                                                               :   19 Civ. 10567 (PGG) (RWL)
                                    Plaintiff,                 :
                                                               :   ORDER
                  - against -                                  :
                                                               :
110 THOMPSON ST OWNERS CORP., et al., :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

ROBERT W. LEHRBURGER, United States Magistrate Judge.

         Defendant tenants of the subject property have indicated that the restaurant

located there has permanently closed and that tenants will vacate the premises in July.

Accordingly, no later than July 1, 2020, Plaintiff shall show cause in writing why the case

should not be dismissed for mootness and lack of subject matter jurisdiction.

                                                     SO ORDERED.



                                                     _______________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE

Dated:           June 24, 2020
                 New York, New York

Copies transmitted to all counsel of record.
